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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

RANDY KILLAM,                                  )
909 Horan Dr.                                  )
Fenton, Missouri 63026                         )
                                               )
      Plaintiff,                               )
                                               )      Case No. 4:13-cv-372
      vs.                                      )      Division No.
                                               )
COMMERCIAL RECOVERY                            )
SYSTEMS, INC.,                                 )
8035 East R. L. Thornton                       )
Dallas, Texas 75357                            )
                                               )
      Defendant.                               )


                   PLAINTIFF’S COMPLAINT AND DEMAND FOR JURY TRIAL

      RANDY KILLAM (“Plaintiffs”), by their attorneys, KROHN & MOSS, LTD., allege the

following against the COMMERCIAL RECOVERY SYSTEMS, INC. (“Defendant”):

                                        INTRODUCTION

   1. Count I of Plaintiff’s Complaint is based on the Fair Debt Collection Practices

      Act, 15 U.S.C. 1692 et seq. (“FDCPA”).

                                    JURISDICTION AND VENUE

   2. Jurisdiction of this Court arises pursuant to 15 U.S.C. 1692k(d), which states that such

      actions may be brought and heard before “any appropriate United States      district court

      without regard to the amount in controversy,” and 28 U.S.C. 1367 grants       this   court

      supplemental jurisdiction over the state claims contained therein.

   3. Defendant conducts business in the State of Missouri and therefore personal jurisdiction

      is established.

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4. Venue is proper pursuant to 28 U.S.C. 1391(b)(2).

5. Declaratory relief is available pursuant to 28 U.S.C. 2201 and 2202.

                                           PARTIES

6. Plaintiff is a natural person who resides in Fenton, St. Loius, Missouri, are allegedly

   obligated to pay a debt, and are “consumers” as that term is defined by 15 U.S.C.

   1692a(3).

7. According to Defendant, Plaintiff allegedly owes a debt as that term is defined by 15

   U.S.C. 1692a(5).

8. Defendant is a debt collector as that term is defined by 15 U.S.C. 1692a(6), and sought

   to collect a consumer debt from Plaintiff.

9. Plaintiff is informed and believes, and thereon alleges, that Defendant is a debt collection

   corporation with an office in Dallas, Texas.

10. Defendant uses instrumentalities of interstate commerce or the mails in any business the

   principal purpose of which is the collection of any debts, or who regularly collects or

   attempts to collect, directly or indirectly, debts owed or due or asserted to be owed or

   due another and is a "debt collector" as that term is defined by 15 U.S.C. § 1692a(6).

11. Defendant is a collection agency that in the ordinary course of business, regularly, on

   behalf of itself or others, engages in debt collection.

                                   FACTUAL ALLEGATIONS

12. In or around November of 2012, Defendant placed collection calls to Plaintiff seeking

   and demanding payment for an alleged consumer debt.

13. Plaintiff’s alleged debt owed arises from transactions used for personal, family, and

   household purposes.

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14. Defendant called Plaintiff’s telephone number at 217-965-55XX.

15. In November of 2012, Defendant called Plaintiff and left a voicemail message on

   Plaintiffs’ answering machine. See Exhibit A.

16. In the voicemail message, Defendant’s representative, “Melissa Morgan” failed to

   meaningfully disclose the company’s name or the nature of the call or state that the call

   was from a debt collector. See Exhibit A.

17. In the voicemail message, Defendant’s representative, “Melissa Morgan”, directed

   Plaintiff to call her back at 1-888-590-7848, which is a number that belongs to

   Defendant. See Exhibit A.

18. In the voicemail message, Defendant’s representative, “Melissa Morgan”, threatened to

   take imminent legal action in 24 (“twenty-four”) hours. See Exhibit A.

19. Upon information and belief Defendant had not initiated legal proceedings against

   Plaintiff and thus Defendant threat was made only to induce Plaintiff to immediately

   respond to Defendant’s telephone call and voicemail.

20. Defendant is using false, deceptive and misleading means in connection with attempting

   to collect a debt by not identifying the purpose of its phone calls or that they are an

   attempt to collect a debt.

                                COUNT I:
                    DEFENDANT VIOLATED THE FAIR DEBT
                        COLLECTION PRACTICES ACT

21. Defendant violated the FDCPA based on, but not limited to, the following:

       a. Defendant violated §1692d(6) of the FDCPA by placing telephone calls without

           meaningful disclosure of the caller’s identity because Defendant did not provide

           the identity of the caller or the nature of the debt.

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          b. Defendant violated §1692e of the FDCPA by using false, deceptive or misleading

              representation with the collection of the debt.

          c. Defendant violated §1692e(5) of the FDCPA threatening to take legal action

              against Plaintiff even though Defendant did not intend to take such action.

          d. Defendant violated §1692e(10) of the FDCPA by using false representations

              and/or deceptive means in an attempt to collect a debt because Defendant

              threatened to file a lawsuit against Plaintiff when Defendant did not intend to do

              so and Defendant failed to disclose the that Defendant was calling in regards to a

              debt.

          e. Defendant violated §1692e(11) of the FDCPA by failing to disclose that the call

              was from a debt collector.

      WHEREFORE, Plaintiff, RANDY KILLAM, respectfully request judgment be entered

against Defendant, COMMERCIAL RECOVERY SYSTEMS, INC. for the following:

   22. Statutory damages pursuant to the Fair Debt Collection Practices Act, 15 U.S.C. 1692k,

   23. Costs and reasonable attorneys’ fees pursuant to the Fair Debt Collection Practices Act,

      15 U.S.C. 1692k

   24. Any other relief that this Court deems appropriate.

                                     RESPECTFULLY SUBMITTED,

                                     By:/s/ Adam C. Maxwell
                                     Adam C. Maxwell
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                                     Attorney for Plaintiffs
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